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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


In re:

Miracle Bass,                                                Chapter 7

        Debtor.                                              Case No.: 19-50264-SMS
___________________________/
Strategic Funding Source, Inc.,                              Ad. Pro. No. 19-05223-SMS
   d/b/a Kapitus, Inc.

                Plaintiff,
         v.

Miracle Bass,

                Defendant.
                                              /


                MOTION FOR ENTRY OF FINAL DEFAULT JUDGMENT

         Plaintiff, Strategic Funding Source, Inc. d/b/a Kapitus, Inc., moves for entry of Final

Default Judgment against Defendant, Miracle Bass (“Bass”), and in support thereof states:

         1.     On June 4, 2019, Plaintiff filed a Complaint to determine the dischargeability of

the debt owed by Bass to Plaintiff under 11 U.S.C. § 523(a)(2)(A), (a)(2)(B), (a)(4) and (a)(6).

         2.     On, July 12, 2019, Plaintiff obtained a Clerk’s Default against Bass.

         3.     Plaintiff requests this Court enter a final judgment against Bass and in Plaintiff’s

favor, finding that the Plaintiff’s claim in the prepetition principal amount of $64,452.18 is

nondischargeable under 11 U.S.C. § 523(a)(2)(A), (a)(2)(B), (a)(4) and (a)(6).
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       4.      Plaintiff’s Affidavits in Support of its Motion for Default Final Judgment are

being filed contemporaneously with this motion.

       WHEREFORE, Plaintiff hereby moves this Court to enter a final default judgment in its

favor and against Bass and any other relief this Court deems just and appropriate.

Dated: July 17, 2019.

                                             CARLTON FIELDS, P.A.

                                             /s/ Justan C. Bounds
                                             Justan C. Bounds
                                             Georgia Bar No. 339789
                                             jbounds@carltonfields.com
                                             1201 West Peachtree Street - Suite 3000
                                             Atlanta, Georgia 30309
                                             404-815-3400
                                             404-815-3415 (fax)

                                             Attorneys for Plaintiff Strategic Funding Source,
                                              Inc. d/b/a Kapitus, Inc.




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 17, 2019, I (1) electronically filed the foregoing with the

Clerk of Court by using the Court’s CM/ECF system thereby serving any registered users in this

case and (2) served the foregoing via U.S. Mail to:

Miracle Bass
1022 Allegiance Drive
Locust Grove, GA 30248

Debtor/Defendant
                                              /s/ Justan C. Bounds
                                              Justan C. Bounds
                                              Georgia Bar No. 339789
                                              jbounds@carltonfields.com
                                              1201 West Peachtree Street -Suite 3000
                                              Atlanta, Georgia 30309
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